Case 1:16-cv-00281-JEJ Document 1-6 Filed 02/17/16 Page 1of5

SIXTH
CONCLUTION

Mr Aly, Counsel Vernica William opnion stated "So the complainant would have reason
to come in and say that my client took money from him because he is humilited and abset
about what went on , on April 10 th. Soi ask that you find my client story credible, and |
would ask that you find him not guilty" (N.T. 9\12\2013 P. 15 )

* Judge ANHALT, J. OPINION in violation to Mr Aly RIGHT

i) Judge Anhalt, J Opinion to the Superior Court stated that :" Appellant did admit to

asking Mr Radwan for a thousand dollor that day". that is wrong Mr Aly did not admit to

aske Mr Radwan for money that day , dated 04\10\2013 as a fact from Mr Aly testimony

to the Court of Common pleas the court record indecated

Q. okay and did you ask him for $ 1000 that day

A. Never . | asked him on that date for $1000 (N.T 9\12\2013 P. 8)

Ss

ii) Judge Anhalt, J Opinion to the Superior Court stated that :" when Mr. Radwan told

him that day that he was not going to give him any money , Appellant started to insult him

and his family, appellant then reached into Mr Radwan's left breasr pocket and took out

the money" (N.T. 9\27\2013 P. 13 )

INVESTIGATION INTERVIEW RECORD FROM THE POLICE REPORT

"| told him no i'm giving you a thousand dollars , | stood up and told him to go, that when

he punched me one time in the chest" (04\18\2013 )

( Appellant started to insult him and his family) **** (1 stood up and told him to go )

there is no part of the word family and insulting at all as Mr Radwan statment's in the
police report dated ( 4\10\13) Mr Radwan don't have any right to change his testements
and timeliness by telling other story or whatsoever action and the Court cann't blieve in
him basd on his own making of deferant story it should fellow the rule of law , the Judge
should perceeding based on fact from the probablele cause not from a story
Mr Radwan given two different version of statment's story , first version in Police
Investigation record (/! stood up and told him to go ) and the secound version to the
Court in accordance to his testimony ( Appellant started to insult him and his family),
Mr Radwan can not give a contradictory statment's , the statment's version of the Police
report must mach his statment's to the Court in exact word , sentence and timeliness , Mr
Radwan statment's not bear of trust and its not only consider unreliable but wrong, upon
which the case , the cause, the charges and the Court judge Anhalt J. Opinion for the out
come of the case a guilty convection of Mr Aly.
Mr Radwan change his statment's and testemoney as explain above

As judge Anhalt J. Opinion stated that :

(" what Mr. Radwan testified and that made up the crimes of theft by unlawful taking as
well as receiving stolen proberty "

"Here, the Court found that the testimony of Mr Radwan was entirely reasonable and
credible more so than the testimony of the Appellant ")

Conclusion that "Mere suspicion “allegation” alone will not support a finding of
probablele cause and the Court cannot simply conclude that probablele cause can
existed based upon false allegation and lying rather than fact from his own statment's and
testimony as all the record indecated , Mr Radwan the complainant had given
contradictory and wrong testimony of fact, he has no credibility and there is no testimony

| sereeve
\G

Case 1:16-cv-00281-JEJ Document 1-6 Filed 02/17/16 Page 2 of 5

forthermore, in accordance to Mr Radwan testimony his not only sbuject to the penalties
for unsworn falsification to authorities under Tital 18§ 4904 of pennsylvaina Crime Code
but also his is liable to Mr Aly for pain and suffring.

wherefore, petitioner respectfully requests that violation of the due process, the
confrontation clause plus violation to state,federal rules of law, the united states
constitution law and amendment rights considered, petitioner also respectfully requests
that a date for the argument be scheduled and motion to quash be granted

RESPECTFULLY SUBMITTED date

lo -1- Dut

C.

Case 1:16-cv-00281.436
por pT ohh je

ju y \ . bo : ‘ fi

bo Af j ; ‘uth of Pennsylvania
° ‘ i Court

aity of Philadelphia

ist Judicial District

Filed Exnibty 4G px]

NOTICE OF Y
PRELIMINARY ARRAIGNMENT

Commonweaith of Pennsylvania

Vv.
. Ibrahim Aly
Active Criminal Records Department
1301 Filbert Street
Philadelphia, PA 19107 Docket No: MC-51-CR-0014843-2013
PH: 215-683-7290 “

SL bPOe na

You are hereby DI RECTED to appear for a/an Preliminary Arraignment in the above-captioned case to be held on/at.__

Date: April 18, 2013 Location: B08 - Criminal Justice Center
<< 2 1301 Filbert Street
Time: 12:58 am Philadelphia, PA 19107

To the Defendant:

You should discuss this matter promptly with your attorney. If you fail to appear as required or comply with the
conditions of the bail bond, if any, then the bond shall remain in full force, and the full sum of the monetary
condition of release may be forfeited and your release may be revoked. In addition, a warrant for your arrest

may be issued. Bring this notice with you.

If you fail to appear without cause at any proceeding for which your presence is required, including trial, your
absence may be deemed a waiver of your right to be present, and the proceeding, including the trial, may be

conducted in your absence.

If you are disabled and require a reasonable accommodation to gain access to the Philadelphia County
Municipal Court and its services, please contact the Philadelphia County Municipal Court at the above address

or telephone number. We are unable to provide transportation.
Recipient: (Ibrahim Aly)

Primary Participant Name and Address:
Aly, Ibrahim

4251/ N Broad St

Philadelphia, PA 19123

CPCMS 2070 Printed: 04/04/2014 12:38:24PM

Page | of 2

Municipal APE, ao tReBh aeas Sant hia Fol nst hitiial Wee ee or Pe enshic Sa ofS

A . i
|) Censhi } ho, On ont it Nd)

“Ky (Ce

i“

HOME CONTACTUS COURTS OF THE DISTRICT JURY SERVICE

ONLINE SERVICES

SEARCH COURT RECORDS MOBILE

tf Courts of the District Municipal Court

Municipal Court

Search

tay-Connected-to-the Court

For genera! Court information, contact (215) 686-7000.

_— The Philadelphia Municipal Court is a court of limited jurisdiction with 25 iaw-trained Judges, and
|g NBs such is responsible for trying criminal offenses carrying maximum sentences of incarceration
e of five years or less, civil cases where the amount in controversy is $12,000 or less for Small
Claims. untimited dollar amounts in Landlord and Tenant cases; and $15,000 in real estate and
school tax cases. Municipal Court has initial jurisdiction in processing every adult criminal arrest
in Philadelphia, and conducts preliminary hearings for most adult felony cases. Because, by
i. Statute, an individual does not have the right to a jury trial in Municipal Court, cases may be
appealed to the Court of Commion Pleas for a trial die Novo. pfhe CUTTEnT appeal rate averages
approximately 3% or less. The Philadelphia Municipal Court has experienced many changes
since its inception. The Court continues its growth towards its goal of excellence in providing
timely and equal justice to all persons whe have contact with the Court

In June 2013, the Pennsylvania General Assembly abolished the Philadelphia Traffic Court and
transferred jurisdiction for moving violations of the Pennsylvania Vehicle Cade to the Municipal
Court. Moving violations are now adjudicated in the Municipal Court's Traffic Division, which
continues to be overseen by Common Fleas Judge Gary S. Glazer as the Supreme Court's
Administrative Judge for reforming the operations of the former Traffic Court.

President Judge Marsha H. Neifield, was
elected as President Judge of the
Philadelphia Municipal Court effective
January 16, 2009. Judge Neifield's
chambers are located in the The Juanita
Kidd Stout Center for Criminal Justice,
1301 Filbert Street, Philadelphia, PA
19103, Room 1303. She and her staff can
be reached by phone at (215) 683-7200 or
by FAX at (215) is 683-7203.

In addition to the President Judge,
Municipal Court has two Supervising
Judges. Judge Frank T. Brady has been
appointed to supervise the Criminal
Division and Judge Bradley K. Moss has
been appointed to hanclle ail matters

related to the supervision of the Civil Division.

| Civil Court Administration is located in Room 1020, 1339 Chestnut Street. The Civil Deputy

at (215) 569-9254.

+ Criminal Court Administration is located in the Criminal Justice Center, 1301 Filbert Street,
Suite 208. The Criminal Deputy Court Administrator, Kathleen M. Rapone, can be reached by
| phone at (215) 663-7290 and FAX at (215) 683-7293.

: Traffic Division Administration is located at 800 Spring Garden Street. The Traffic Division
| Deputy Court Administrator, Robert T. DeEmilia, can be reached at 215-686-1645 and FAX at
» 215-686-1641.

Many programs are offered to the community, which enhance the Court's operational efficiency

| while preserving its accessibility to the people. The court-annexed mediation pragram was one of
the first established in the country, in 1969, for the resolution of landlord & tenant cases and

; small claims. The tax court program generates revenue for the city of Philadelphia through its

; collection enforcement efforts. Diversion programs are offered to first-time summary offenders to
expedite certain summary offenses. The Court's educational programs for its judges have been
recognized on the nationai level. Its participation in justice training programs has maintained it as

http://courts. phila.gov/municipal/

_; Interpreter Services

fe |

“ Departments of the First Judicial District |
t a
/ | Employment

' Court Administrator, Patricia R. McDermott can be reached by phone at (215) 686-2910 and FAX /

_; ADA Accommodations

_ Request for Proposals (RFP) “4

To contact Court Interpreter Administration, click here.
Para contactar a la Oficina Administrativa de intérpretes
de fos Juzgados, haga un clic aqui.

Para scolicitar un intérprete, haga un clic aqui.
interpreter Request Farms. Please select a Language:
English
nym (Cambodian)

Hf] (Chinese)
B= (Korean)
Pyecknn (Russian)
Espafol (Spanish)
VIET (Vietnamese)

Make Payments

Court Locations

Court News

Court Fees :

Courthouse Room Reservations 3 mS
__ ene \

Judicial Art and History
Phone Directory foo
Publications :

Public Access Policy

4 i

How Do I?

3/31/2014

Case 1:16-cv- -
Office of Court Compliance. Gori Phd AAR ERs! Pi: FilediAala7MActRAYermyt 5 ayes. ~

a “bagel

HOME CONTACT US COURTS OF THE DISTRICT JURY SERVICE ONLINE SERVICES SEARCH GOURT RECORDS MOBILE

Departments of the First Judicial District Office of the Court Administrator Office of Court Compliance

Search

_ Office of Court Compliance

|

__... | Stay Connected to the Court

Shate More

: The collection effort of the First Judicial District of Pennsylvania is part of the Criminal Justice
_ Reform Initiative directed by Chief Justice Ronald D. Castille, under the guidance of Justice
| Seamus P. McCaffery.

|. Interpreter Services

_, Make Payments
In an effort to introduce consequences and to change criminal defendants’ behavior, and as part

/ of the Reform Initiative, the First Judicial District of Pennsylvania ("FJD") has launched a series : - Court Locations a,
of corrective measures, including the establishment of a bench warrant court where a enn a
| defendant's failure to appear for a hearing results in conteript charges and other consequences G Court N Ye “.
: such as incarceration and, for the first time, the collection of bail judgments and fees, fines, court = ou ews ‘ 5 ‘,
» costs and restitution. : . :
: | Court Fees £
| The measures seek to prevent the continuing failure on the part of criminat defendants to appear. | . . . oe ‘ e
| for scheduled hearings. These failures to appear cause trials to be delayed and risk witnesses’ Courthouse Room Reservations Ya “
| loss of memory, inconvenience victims, waste judicial, court staff and police time, and result in t . eee ~
| increased police over-time. ' | Departments of the First Judicial District _
: oni fyi
| The collection effort was initiated after the FJD's assumption of the duties and functions of the a Office of Court Administrator f \
| previously independently elected Clerk of Quarter Sessions which was abolished by City Council bd Court Reporter and Interpreter Services i
| in. 2010, The Court established the Office of Court Coffipliance, Tuncled by the’ City or OG Human Resources f
© Philadelphia, to lead the charge in the collection of outstanding bail judgments and mandated : [
' fees, fines, court costs and restitution. The collection of this money benefits the City of : Law Library . i
Philadelphia, the Commonwealth of Pennsylvania and victims of crimes both directly, through ii Office of Court Compliance Oe &
» restitution orders, and indirectly. ‘ at Ran ~ t Bo wef
: NE MOV Gey, : Office of Financial Services a mee
Upon assumption of the duties and functions of the Clerk of Quarter Sessions. the FJD has Ce : : Office of the Prothonotary

Clerk of Court
Procurement Department

. _« | 2 utilized the statewide Common Pleas Case Management System (“CPCMS') to inform
ae | defendants about their financial obligations, to establish payment plans, to record payments Cle :
: made, and to refer cases to collection agencies and collection attorneys. KO

__ Employment 4

: The description below highlights the process followed by the First Judicial District.

“ At Bail Forfeiture and Bail Judgments are systematically entered after a defendant who is released | Judicial Art and History .
: on bail and who signed a bail bond fails to appear for a scheduled court hearing. The Batl Bond : a
1 signed by the defendant requires appearance at every court hearing and cautions that a

© judgment will be entered for the full amount of the bait if the defendant fails to appear for a court

c

Phone Directory

| hearing. The bail judgment may be vacated if the defendant can show that the failure to appear _| Publications
_ for the hearing was not voluntary (e.g., because of the defenciant's incarceration on the date of ba a.
, the hearing for which defendant failed to appear) or reduced if “justice does not require the full | Public Access Policy se
| enforcement of the forfeiture order." To seek vacation or reduction of the bail judgment, the La De
| defendant must file a motion which will be initially decided upon a review of the case file butthe | = Han’
ON ONS ' defendant may aiso request a hearing and judicial review. La ADA Accommodations
ai a : . ba :
Op Pe : Request for Proposals (RFP
, ~ » Immediately after sentencing, FJD Compliance Officers meet with defendants to establish an Dt 4 r Pos | (R )
~ a : appropriate payment plan for the payment of fees, fines, court costs and restitution consistent |. How Do I? t
‘ | with the sentencing judge's order. Compliance Officers also hold conferences when defendants ow oN ‘

© geek reduction of their monthly payment due to a change in financial circumstances, and conduct :
delinquency conferences when defendants fail to make their monthly instaliment payments. If
appropriate, the monthly amount may be decreased when the defendant demonstrates reduced
income after presenting the necessary information.

——
: Finally, the FJD refers cases to collection agencies or collection attorneys when defendants fail ,
- to pay their outstanding fees, fines, court costs and restitution, fail to appear for scheduled ee Po oG
payment plan conferences, OF fail to update their addresses with the court as required. Upon : oe bo ee
referral to a collection agency or collection attorney, the defendant must pay a 25% collection
- fee, as allowed by law, in addition to the outstanding balance.

: The goals of the FJD collection effort are to foster respect for court orders, to insure that those . /
| defendants who have the financial ability to pay court imposed financial abligations.co so, and to ~ - {

a : : ” em ed,
Fe

. ee Sid fog
L

a tn arr cduits phila. gow/departments/court-compliance.asp

